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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA

 MELINDA and MARK LOE, on their own               Case No. 23‐CV‐1527 (NEB/JFD)
 behalf and as next friends of their children
 R.L. and O.L.; DAWN ERICKSON, on her
 own behalf and as next friend of her child
 J.G.;    CROWN         COLLEGE;          and   ORDER ON MOTION TO DISMISS
 UNIVERSITY OF NORTHWESTERN –                        COUNTERCLAIMS
 ST. PAUL,

                      Plaintiffs,

 v.

 WILLIE JETT, in his official capacity as
 Minnesota Commissioner of Education;
 and MINNESOTA DEPARTMENT OF
 EDUCATION,

                      Defendants.

      Minnesota’s Post‐Secondary Enrollment Options (“PSEO”) program allows high

school students to take college‐level courses and earn high school and college credits for

free. The state recently passed legislation prohibiting colleges from participating in the

program if they require a “faith statement” or select students based on religion. Two

religious colleges, Crown College and the University of Northwestern – St. Paul, and

individual plaintiffs sued the Minnesota Department of Education and various state

officials, challenging the new law as a violation of their constitutional rights. (ECF No. 1

(“Compl.”).) Defendants answered the complaint and MDE filed counterclaims against

Crown and Northwestern. (ECF No. 27 at 56–70 (“Countercl.”).) The schools now move to
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dismiss MDE’s counterclaims. (ECF No. 34.) For the reasons below, the motion to dismiss is

denied.

                                       BACKGROUND

       The Minnesota Constitution guarantees its residents a “general and uniform system

of public schools.” Minn. Const. Art. XIII, § 1. To fulfill its constitutional duty, the state

established the PSEO program to promote “rigorous academic pursuits” and to provide “a

wider variety of options” to high school students. Minn. Stat. § 124D.09, subdiv. 2. Under

the program, high school students may take courses at local colleges and earn high school

and college credits for free. (Countercl. ¶ 17); see Minn. Stat. § 124D.09, subdivs. 3(c), 12, 13.

       MDE administers and funds the PSEO program. (Countercl. ¶¶ 16, 44); Minn. Stat.

§ 127A.41, subdiv. 1. MDE partners with local colleges and reimburses them for providing

PSEO courses. (Countercl. ¶¶ 24–25, 27–28); see Minn. Stat. § 124D.09, subdivs. 13–21. To

cover the cost, MDE reallocates funds from public school districts whose students

participate in the PSEO program. (Countercl. ¶ 21.)

       Plaintiffs Crown and Northwestern participate in the PSEO program. (Id. ¶ 25.) As

participants, the schools receive funding from the state to provide PSEO courses to public

high school students. (Id. ¶ 26) During the past six years, the schools have collectively

received more than $30 million from the state to provide PSEO courses to more than 10,000

public high school students. (Id. ¶¶ 29–30.)




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       If a student wants to enroll in PSEO courses at Crown or Northwestern, the student

must agree to the schools’ statements of faith. (Id. ¶¶ 35, 38.) The faith statements require

students to affirm that Jesus Christ is the one true God, marriage is a bond between “one

man and one woman,” same‐sex intimacy and pre‐marital sexual relations are “immoral[],”

and transgender individuals are mired in “confusion and brokenness.” (Id. ¶¶ 35, 38.)

       In May 2023, the state passed legislation prohibiting colleges from participating in

the PSEO program if they require a “faith statement” or select students based on religion.

H.F. 2497, 5th Engrossment, 93rd Leg. (Minn. 2023). Crown, Northwestern, and individual

plaintiffs sued MDE and various state officials, arguing that the amended law violates their

free exercise, free speech, and equal protection rights. Defendants answered, and MDE filed

counterclaims against the schools, alleging that the schools’ admissions practices violate the

First and Fourteenth Amendments, the Minnesota Constitution, and the Minnesota Human

Rights Act.

                                        ANALYSIS

       The schools move to dismiss MDE’s counterclaims for lack of subject‐matter

jurisdiction and for failure to state a claim. Under Rule 12(b)(1), if the Court determines it

lacks subject‐matter jurisdiction over the counterclaims, it must dismiss them. Bueford v.

Resol. Tr. Corp., 991 F.2d 481, 485 (8th Cir. 1993). And under Rule 12(b)(6), the Court may

dismiss the counterclaims for “failure to state a claim upon which relief can be granted.”

The counterclaims must contain “enough facts to state a claim to relief that is plausible on



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its face.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007). A counterclaim has “facial

plausibility” when the counter‐claimant pleads factual content that allows the court to draw

the reasonable inference that the counter‐defendant is liable for the misconduct alleged.

Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009).

   I.      Standing

        To prevail on its counterclaims, MDE must establish standing under the United States

Constitution and, because MDE asserts a counterclaim under the MHRA, state standing.

The Court considers each in turn.

   A.      Article III Standing

        The jurisdiction of federal courts is limited to cases and controversies. U.S. Const.

Art. III, § 2; Lujan v. Defs. of Wildlife, 504 U.S. 555, 559 (1992). Standing is a jurisdictional

requirement “rooted in the traditional understanding of a case or controversy.” Spokeo, Inc.

v. Robins, 578 U.S. 330, 338 (2016). The doctrine of parens patriae allows a state to bring an

action on behalf of the interest of its residents. To establish parens patriae standing, a state

must assert: (1) an injury to its “quasi‐sovereign interest”; and (2) that the injury affects a

“sufficiently substantial segment of its population.” Alfred L. Snapp & Son, Inc. v. Puerto Rico

ex rel. Barez, 458 U.S. 592, 607 (1982).

        A “quasi‐sovereign interest” is a judicial construct that “does not lend itself to a

simple or exact definition.” Id. at 601. A state has a quasi‐sovereign interest in the “health

and well‐being—both physical and economic—of its residents in general.” Id. at 607. In



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addition to physical or economic interests, the Supreme Court has recognized a state’s

“interest in securing residents from the harmful effects of discrimination.” Id. at 609.

       MDE has plausibly alleged a quasi‐sovereign interest in protecting Minnesota public

high school students from the harmful effects of discrimination. To enroll in PSEO courses

at Crown or Northwestern, a student must agree to the schools’ statements of faith.

(Countercl. ¶¶ 35, 38.) The faith statements require students to affirm their commitment to

Christianity, to acknowledge that marriage is a bond between “one man and one woman,”

that same‐sex intimacy and pre‐marital sexual relations are “immoral[],” and to disavow

“transgender identity or expression.” (Id. ¶¶ 35, 38.) MDE has plausibly alleged that these

statements discriminate against Minnesota public high school students based on religion,

sexual orientation, and gender identity.

       “One helpful indication” of parens patriae standing is when a state alleges an injury to

the health and well‐being of its residents that the state “if it could, would likely attempt to

address through its sovereign lawmaking powers.” Snapp, 458 U.S. at 607. That is exactly

what MDE has done here. Minnesota attempted to—and did, in fact—address this alleged

injury through the PSEO legislation. See H.F. 2497 Sec. 45, 5th Engrossment, 93rd Leg. (Minn.

2023); see also Texas v. Becerra, 667 F. Supp. 3d 252, 267–68 (N.D. Tex. 2023) (holding that

Texas had parens patriae standing because the state had issued executive orders to address

the alleged injury). MDE has plausibly alleged a quasi‐sovereign interest in protecting

Minnesota residents from discrimination.



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         The schools’ attempt to distinguish Snapp is unpersuasive. The schools argue that

Snapp hinged on Puerto Rico’s “quasi‐sovereign interest in ‘full and equal participation in

the federal employment service scheme established’ by two federal statutes.” (ECF No. 43

at 211 (citing Snapp, 458 U.S. at 609).) Because MDE’s alleged injury does not implicate

federalism concerns, the schools maintain that Snapp does not apply and MDE lacks parens

patriae standing.2

         In Snapp, the Supreme Court considered Puerto Rico’s allegations that: (1) the

defendants discriminated against its residents; and (2) its residents were denied access to

employment opportunities that they were entitled to under federal law. Snapp, 458 U.S. at

608. The Court held that Puerto Rico had a quasi‐sovereign interest in protecting its

residents from discrimination and “[a]lternatively” in ensuring its residents had access to a

federal employment scheme. Id. 609. The Court found that “each of these allegations” fell

within Puerto Rico’s quasi‐sovereign interests and concluded that “each will support a parens

patriae action.” Id. at 608 (emphases added). Snapp therefore provides two independent

vehicles for MDE to assert a quasi‐sovereign interest. The fact that MDE alleges one, but not

the other, does not bar it from obtaining parens patriae standing.




1   Citations to page numbers in the record reference ECF pagination unless otherwise noted.

2A few courts outside of this Circuit read Snapp similarly. See Estados Unidos Mexicanos v.
DeCoster, 229 F.3d 332, 339 (1st Cir. 2000); Harrison v. Jefferson Par. Sch. Bd., 78 F.4th 765, 772–
74 (5th Cir. 2023).

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       The state must also allege an injury to its “residents in general.” Id. at 607. This means

more than an “identifiable group of individual residents.” Id. A “sufficiently substantial

segment of its population” will suffice. Id. In determining whether the state has alleged

injury to a sufficiently substantial segment of its population, the Court must consider the

indirect effects of the injury. Id.

       MDE alleges that the schools’ admissions policies discriminate against the state’s

public high school students. The schools contend that MDE lacks parens patriae standing

because it does not allege an injury to all state residents. In United States v. Santee Sioux Tribe

of Nebraska, the Eighth Circuit observed that parens patriae standing “is reserved for actions

which are asserted on behalf of all of the sovereign’s citizens.” 254 F.3d 728, 734 (8th Cir.

2001). The schools read that case too expansively. There, the Eighth Circuit addressed

whether parens patriae could confer standing on the tribe to assert the rights of a “dozen or

so” tribal members. Id. To read the case as expansively as the schools suggest would be

contrary to Supreme Court precedent that an injury to a “sufficiently substantial segment of

its population” will suffice. Snapp, 458 U.S. at 607.

       The group affected here is Minnesota public high school students participating in the

PSEO program. (Countercl. ¶¶ 1, 3, 5, 35–39.) That segment of the state’s population is

substantial, representing thousands of Minnesota residents. (See id. ¶¶ 29–30 (alleging that

the schools collectively provided PSEO courses to more than 10,000 high school students in

one academic school year).) The fact that this group includes minors provides further



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support for finding that MDE has parens patriae standing. See Snapp, 458 U.S. at 600 (tracing

historical roots of parens patriae doctrine to a sovereign’s responsibility to take care of people

legally unable to care for themselves because of their age).

       Lastly, Crown and Northwestern argue that MDE, a state agency, cannot assert parens

patriae standing because it lacks authority to do so under state law. The schools rely on

several cases outside of this Circuit (see ECF No. 43 at 15), and the Eighth Circuit has not

addressed whether a state agency needs express statutory authority to assert parens patriae

standing.

       In any event, MDE has sufficient statutory authority in this case. MDE is the sole

agency responsible for administering the PSEO program. Minn. Stat. § 120A.02(b). It

oversees all aspects of the PSEO program, including funding, course curriculum, tuition,

and more. Minn. Stat. § 124D.09, subdivs. 2, 10, 13, 19, 21. And this Court has previously

held that the Minnesota Commissioner of Education can act in a parens patriae capacity. Am.

C.L. Union of Minn. v. Tarek ibn Ziyad Acad., No. 09‐CV‐138 (DWF/JJG), 2010 WL 1840301, at

*9 (D. Minn. May 7, 2010) (“[T]he Commissioner acting in her official capacity is properly

considered a governmental entity. Under the doctrine of parens patriae, the Commissioner

[is] presumed to adequately represent the interests of students and parents in the district.”).

Because MDE has statutory authority to represent the state, it has parens patriae standing.3



3Because the Court concludes that MDE has parens patriae standing, the Court need not
evaluate MDE’s argument that it has standing in its own right.


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    B.       MHRA Standing

          MDE also alleges that the schools violated the MHRA. Before the Court may address

that counterclaim, MDE must have standing to sue under state law.4 Metro. Exp. Servs., Inc.

v. City of Kansas City, 23 F.3d 1367, 1369 (8th Cir. 1994).

          The MHRA allows a “person aggrieved” to sue under the statute. Minn.

Stat. § 363A.28, subdiv. 1. A “person” includes “the state and its . . . agencies,” so MDE is a

person under the MHRA. Minn. Stat. § 363A.03, subdiv. 30. MDE is also aggrieved, as

described above, because it is foreclosed from advancing quasi‐sovereign interests. MDE

alleges that the schools’ faith statements discriminate against public high school students

participating in the PSEO program. As the sole agency that administers and funds the

program, MDE has a quasi‐sovereign interest in protecting these students from the harmful

effects of discrimination. Because the schools’ admissions policies prevent it from doing so,

MDE is aggrieved under the MHRA.

    II.      Federal and State Constitutional Claims

          MDE alleges various federal and state constitutional counterclaims. The schools

advance one argument to support dismissing those claims—that the schools are not state

actors. The Court analyzes state action under the federal and state constitutions




4MDE must also establish Article III standing for its MHRA claim. See Grp. Health Plan, Inc.
v. Philip Morris Inc., 86 F.Supp.2d 912, 917 n. 2 (D. Minn. 2000) (explaining that Article III
standing requirements are a “wholly separate determination” from state standing). For the
reasons discussed above, see supra Analysis I.A., MDE has met this burden.

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simultaneously because those doctrines are the same. Rendell‐Baker v. Kohn, 457 U.S. 830, 837

(1982); State v. Wicklund, 589 N.W.2d 793, 801 (Minn. 1999).

       The schools are private actors, so their conduct may be deemed state action if it is

“fairly attributable to the State.” Rendell‐Baker, 457 U.S. at 838 (citation omitted).

Determining whether the schools committed state action is a “necessarily fact‐bound

inquiry.” Lugar v. Edmondson Oil Co., 457 U.S. 922, 939 (1982). The Court’s “ultimate

conclusion must turn on the particular facts of the case, since ‘[o]nly by sifting facts and

weighing circumstances can the nonobvious involvement of the State in private conduct be

attributed its true significance.’” Wickersham v. City of Columbia, 481 F.3d 591, 597 (8th Cir.

2007) (citing Burton v. Wilmington Parking Auth., 365 U.S. 715, 722 (1961)).

       The Court declines to resolve this fact‐intensive issue on a motion to dismiss because

the parties have not yet had an opportunity to develop the factual record through discovery.

See Roe v. N. Homes, Inc., No. 18‐CV‐3428 (PAM/LIB), 2019 WL 2296876, at *2 (D. Minn. May

30, 2019) (“[W]hether Defendants were state actors is inappropriate for resolution on a

motion to dismiss.”). Indeed, many of the cases relied on by the schools were decided after

the factual record was developed. E.g., Rendell‐Baker, 457 U.S. at 843 (affirming district

court’s grant of summary judgment); Nichols v. Metro. Ctr. for Indep. Living, Inc., 50 F.3d 514,

518 (8th Cir. 1995) (same); Logiodice v. Trs. of Me. Cent. Inst., 296 F.3d 22, 32 (1st Cir. 2002)




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(same); Hamlin ex rel. Hamlin v. City of Peekskill Bd. of Educ., 377 F. Supp. 2d 379, 390 (S.D.N.Y.

2005) (granting summary judgment).5

       Even if that determination were appropriate at the pleading stage, MDE has plausibly

alleged that the schools committed state action. Private action may be fairly attributable to

the state when there is “pervasive entwinement” between the private actor and the state.

Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 291 (2001). This may occur

when the private actor is “entwined with governmental policies” or when the state is

“entwined in its management or control.” Id. at 296 (cleaned up, citation omitted).

       Here, MDE has pled sufficient facts to show that the state is entwined with the

schools. To provide PSEO courses, the schools must first be approved by the state.

(Countercl. ¶ 24.) Under the new law, the schools will not be approved if they require faith

statements or select students based on religion. Minn. Stat. § 124D.09, subdiv. 3(a). Once

approved, the schools may only offer nonsectarian PSEO courses. (Countercl. ¶ 32); Minn.

Stat. § 124D.09, subdiv. 2. The schools are also entwined with governmental policy. The state



5The schools also rely on Sabri v. Whittier Alliance, an Eighth Circuit decision affirming the
district court’s Rule 12(b)(6) dismissal on state action grounds, but that case is
distinguishable from the case at hand. 833 F.3d 995 (8th Cir. 2016). In Sabri, the plaintiffs
were members of a neighborhood organization alleging that the organization’s bylaws
violated their First Amendment rights. Id. at 997. Although the city encouraged the
organization to adopt the bylaws, the Eighth Circuit held that the organization’s adoption
of the bylaws was not state action. Id. at 1000. Thus, the conduct at issue in Sabri involved a
private organization’s internal governance. By contrast, the conduct at issue here involves
the schools’ participation in a program created, funded, and administered by the state, and
will require more factual development to determine whether the schools committed state
action. (Countercl. ¶¶ 15–16); Minn. Stat. §§ 120A.02(b), 124D.09.

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established the PSEO program, in part, to fulfill its constitutional duty to provide free public

education to high school students. (Countercl. ¶ 13); Minn. Const. Art. XIII, § 1. The schools

serve this policy by providing courses to public high school students for free. (Countercl.

¶¶ 26–28.)

           To be sure, “mere regulation” does not convert a private actor’s conduct into state

action even if the regulation is “extensive and detailed.” Sabri, 833 F.3d at 1000 (quoting

Rendell‐Baker, 457 U.S. at 841). But without discovery, the Court cannot determine how much

entwinement exists between the parties. Thus, drawing all inferences in favor of MDE, it is

plausible that the schools committed state action.6

    III.      MHRA Claim

           The MHRA prohibits schools from discriminating against prospective and current

students. Minn. Stat. § 363A.13, subdivs. 1–2. MDE alleges that Crown’s and Northwestern’s

PSEO admissions policies violate the MHRA because they discriminate against public high

school students based on sex and sexual orientation. The schools argue that MDE’s MHRA

claim should be dismissed because they are exempt under the statute.




6 Because MDE has plausibly alleged that there is pervasive entwinement, the Court need
not decide if it “could chart an alternate path to the same endpoint” under the public
function test. Doe v. N. Homes, Inc., 11 F.4th 633, 639 n.4 (8th Cir. 2021); see Lugar, 457 U.S. at
939 (“Whether these different tests are actually different in operation or simply different
ways of characterizing the necessarily fact‐bound inquiry that confronts the Court in such a
situation need not be resolved here.”).

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       The MHRA exempts religious schools, like Crown and Northwestern, “in matters

relating to sexual orientation.” Minn. Stat. § 363A.26, subdiv. 2. The exemption does not

apply, however, if the schools are engaged in “secular business activities.” Id. Although the

schools are Christian colleges, MDE has sufficiently alleged that their participation in the

PSEO program is a secular activity. Under the program, the schools are prohibited from

teaching sectarian PSEO courses. (Countercl. ¶ 32); Minn. Stat. § 124D.09, subdivs. 2, 3(c),

10. The schools are also financially compensated for participating in the program.

(Countercl. ¶ 26; see Compl. ¶¶ 116, 157 (alleging that the schools’ exclusion from the PSEO

program would cause them significant financial harm).) It is plausible, then, that the schools’

participation in the PSEO program is “unrelated to the religious and educational purposes”

for which they were established. Minn. Stat. § 363A.26, subdiv. 2. As a result, MDE has

plausibly alleged a claim under the MHRA.

                                       CONCLUSION

       Based on the foregoing and on all the files, records, and proceedings herein, Plaintiff’s

motion to dismiss the counterclaims (ECF No. 34) is DENIED.

Dated: March 18, 2024                              BY THE COURT:

                                                   s/Nancy E. Brasel
                                                   Nancy E. Brasel
                                                   United States District Judge




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